Case 1:21-cr-00115-WJM Document 71-1 Filed 06/09/22 USDC Colorado Page 1 of 1




  DEFENDANT:            MELISSA CHARRAN

  YOB/AGE:              1993

  COMPLAINT             ___x___ Yes        _______ No
  FILED?
                        If Yes, MAGISTRATE CASE NUMBER 21-mj-00051-NYW

  OFFENSE(S):            1) 21 U.S.C. § 843(b) & 18     Use of communication facility to facilitate
                            U.S.C. § 2                  commission of drug trafficking felony


  LOCATION OF
  OFFENSE:              Denver County, Colorado

  PENALTY:               1) 21 U.S.C. § 843(b) & 18     NMT 4 yrs imprisonment, NMT $250,000 fine or
                            U.S.C. § 2                  both; NMT 1 yr SR; $100 SA



  AGENT:                USPIS Inspector Derek Backus


  AUTHORIZED            AUSA Andrea Surratt
  BY:


 ESTIMATED TIME OF TRIAL:              x    five days or less ____ over five days

 THE GOVERNMENT

 __ will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

 The statutory presumption of detention is not applicable to this defendant.




                                                    1
